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                                  MINUTE ORDER




 CASE NUMBER:            CRIMINAL NO. 17-00101 LEK-1
 CASE NAME:              USA v. (1) Anthony T. Williams


      JUDGE:       Leslie E. Kobayashi           DATE:              2/13/2020

EO: COURT ORDER GRANTING THE GOVERNMENT’S MOTION TO EXCLUDE
NON-RELEVANT FED. R. EVID. RULE 702 TESTIMONY

        On January 29, 2020, Plaintiff the United States of America (“the Government”)
filed its Motion to Exclude Non-Relevant Fed. R. Evid. Rule 702 Testimony (“Motion”).
[Dkt. no. 837.] Pro se Defendant Anthony T. Williams (“Defendant”) presented his oral
opposition to the Motion on February 12, 2020. [Minutes, filed 2/12/20 (dkt. no. 887), at
2.]

      The Motion asks this Court to strike Defendant’s proposed expert witnesses:

      1)           Michael P. Brannon;
      2)           Leonard Horowitz;
      3)           James W. Harper and/or Harlan Yu;
      4)           Lynn Szymoniak, Esq., or other designee;
      5)           Robert Young;
      6)           Barry Scheck, Esq.; Nancy Gertner; Robert M. Cary;
      7)           an email expert; and
      8)           Defendant.

[Motion at 2-3.] Defendant represents that the potential witnesses identified in numbers
3, 4, 5, 6, and 7 will not be called. The Government’s Motion is therefore GRANTED
insofar as to those potential witnesses will not be permitted to testify in this case.

      Fed. R. Evid. 702 states:

                   A witness who is qualified as an expert by knowledge,
                   skill, experience, training, or education may testify in the
                   form of an opinion or otherwise if:

                   (a) the expert’s scientific, technical, or other specialized knowledge
                   will help the trier of fact to understand the evidence or to determine a
                   fact in issue;
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                   (b) the testimony is based on sufficient facts or data;

                   (c) the testimony is the product of reliable principles and methods; and

                   (d) the expert has reliably applied the principles and methods to the
                   facts of the case.

The Ninth Circuit has stated:

                        Before admitting expert testimony into evidence, the
                   district court must perform a “gatekeeping role” of
                   ensuring that the testimony is both “relevant” and
                   “reliable” under Rule 702. Daubert [v. Merrell Dow
                   Pharm., Inc.], 509 U.S. [579,] 597, 113 S. Ct. 2786
                   [(1993)]. “Relevancy simply requires that ‘the evidence
                   logically advance a material aspect of the party’s case.’”
                   [Estate of] Barabin [v. AstenJohnson, Inc.], 740 F.3d
                   [457,] 463 [(9th Cir. 2014) (en banc)] (citation and internal
                   alterations omitted). . . .

                        The issue here is “reliability,” which requires that the
                   expert’s testimony have “a reliable basis in the knowledge
                   and experience of the relevant discipline.” Id. (quoting
                   Kumho Tire Co. v. Carmichael, 526 U.S. 137, 149, 119 S.
                   Ct. 1167, 143 L. Ed. 2d 238 (1999)). The district court
                   must assess whether “the reasoning or methodology
                   underlying the testimony is scientifically valid” and
                   “properly can be applied to the facts in issue,” Daubert,
                   509 U.S. at 592–93, 113 S. Ct. 2786, with the goal of
                   ensuring that the expert “employs in the courtroom the
                   same level of intellectual rigor that characterizes the
                   practice of an expert in the relevant field,” Kumho Tire,
                   526 U.S. at 152, 119 S. Ct. 1167. “The test ‘is not the
                   correctness of the expert’s conclusions but the soundness
                   of his methodology,’ and when an expert meets the
                   threshold established by Rule 702, the expert may testify
                   and the fact finder decides how much weight to give that
                   testimony.” Pyramid Techs., Inc. v. Hartford Cas. Ins.
                   Co., 752 F.3d 807, 814 (9th Cir. 2014) (quoting Primiano
                   v. Cook, 598 F.3d 558, 564 (9th Cir. 2010)).

                        The reliability analysis is “a malleable one tied to the
                   facts of each case,” and “district courts are vested with
                   ‘broad latitude’ to ‘decide how to test an expert’s
                   reliability’ and ‘whether or not an expert’s relevant
                   testimony is reliable.’” Murray v. S. Route Mar. SA, 870
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                   F.3d 915, 922–23 (9th Cir. 2017) (quoting Kumho Tire,
                   526 U.S. at 152–53, 119 S. Ct. 1167). Although Daubert
                   identifies several factors that may be used for evaluating
                   the reliability of an expert — whether the scientific theory
                   or technique has been tested, peer reviewed, identified as
                   having a particular rate of error, and generally accepted in
                   the scientific community, see 509 U.S. at 592–94, 113 S.
                   Ct. 2786 — district courts are not required to consider all
                   (or even any) of these factors, nor are they required to hold
                   a “Daubert hearing.” Barabin, 740 F.3d at 463–64.

United States v. Ruvalcaba-Garcia, 923 F.3d 1183, 1188–89 (9th Cir. 2019) (footnote
omitted).

       Defendant offers the Competency to Proceed Evaluation by Michael P. Brannon,
Psy. D., as the proffer of Dr. Brannon’s anticipated testimony. See Def.’s Tr. Exh. 2123.
The simple fact is that Defendant’s competency is not being challenged or put in issue by
the Government or Defendant. Thus, Dr. Brannon’s testimony is not relevant because
Defendant’s competency is not at issue in the trial. See Barabin, 740 F.3d at 463; see also
Fed. R. Evid. 401 (“Evidence is relevant if: (a) it has any tendency to make a fact more or
less probable than it would be without the evidence; and (b) the fact is of consequence in
determining the action.”). The Government’s Motion is therefore GRANTED insofar as
Dr. Brannon will not be permitted to testify in this case. In light of this ruling, it is not
necessary to address the issue of whether Dr. Brannon is qualified to give expert
testimony regarding competency.

        Defendant presents the qualifications of Leonard G. Horowitz, D.D.M., see Def.’s
Tr. Exh. 2124 (Dr. Horowitz’s curriculum vitae (“CV”)), and he states “‘Dr. Horowitz is
expected to present expert testimony as to the existence of governmental corruption as
well as being a fact witness in this case,’” [Motion at 2 (quoting Defendant’s letter to the
Government identifying his intended expert witnesses)]. To the extent that Defendant
offers Dr. Horowitz as an expert in government corruption, the Court finds that the
qualifications set forth in Dr. Horowitz’s CV do not support Defendant’s position that Dr.
Horowitz is an expert in that area. Further, the Court concludes that issues of government
corruption are not relevant to the issues at trial. See, e.g., EO: Court Order Regarding
Motions in Limine, filed 1/30/20 (dkt. no. 841), at 6 (“Defendant is put on notice that he
shall not raise arguments, attempt to question witnesses, and seek to enter evidence
regarding alleged defects in search warrants, alleged discovery abuse, alleged selective or
vindictive prosecution, nor alleged prosecutorial misconduct before the jury.”). The
Government’s Motion is GRANTED insofar as Dr. Horowitz will not be permitted to
testify as an expert witness for Defendant. This ruling does not prevent Defendant from
presenting Dr. Horowitz as a percipient witness in Dr. Horowitz’s capacity as a client of
Defendant and/or Mortgage Enterprise Investments (“MEI”), subject to the limits of
relevancy. That is, Defendant must first establish that the testimony is relevant to the
charges against him.

       Finally, Defendant intends to offer himself as an expert witness regarding “‘any
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number of topics . . . , including but not limited to: 1) the mortgage system in the United
States; 2) predatory lending practices of mortgage companies; and 3) fraudulent activities
of banks and mortgage companies.’” [Motion at 3.] Defendant has not established that
he has the knowledge of and experience in either the banking industry or mortgage
industry that would be necessary to qualify him as an expert in one or both of those fields.
Defendant’s knowledge and experience regarding banking and mortgages relates to his
work with MEI and The Common Law Office of America (“CLOA”), both of which are
part of the allegedly fraudulent scheme that resulted in the offenses Defendant is charged
with. See generally Superseding Indictment, filed 3/28/18 (dkt. no. 154). Defendant’s
knowledge and experience from MEI and CLOA therefore do not qualify him to give
expert testimony regarding banking and mortgages. The Government’s Motion is
GRANTED insofar as Defendant will not be permitted to give expert testimony.

      The Government’s Motion is therefore GRANTED in its entirety. None of
Defendant’s proposed expert witnesses will be permitted to testify at trial. Dr. Horowitz
and Defendant will be limited to providing testimony as percipient lay witnesses.

       IT IS SO ORDERED.




Submitted by: Agalelei Elkington, Coutroom Manager
